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1      CUAUHTEMOC ORTEGA (Bar No. 257443)
       Federal Public Defender
2      ANGELA C. C. VIRAMONTES (Bar No. 228228)
       (E-Mail: angela_viramontes@fd.org)
3      Deputy Federal Public Defender
       3801 University Avenue, Suite 700
4      Riverside, California 92501
       Telephone: (951) 276-6346
5      Facsimile: (951) 276-6368
6      Attorneys for Defendant
       ANTONIO EDGAR GONZALEZ-ALEMAN
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8
9                                UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11                                     EASTERN DIVISION
12
13     UNITED STATES OF AMERICA,                      Case No. ED CR 21-00113-DSF
14                  Plaintiff,                        EX PARTE APPLICATION RE
                                                      DETERMINATION OF MENTAL
15           v.                                       COMPETENCY OF ANTONIO
                                                      EDGAR GONZALEZ-ALEMAN;
16     ANTONIO EDGAR GONZALEZ-                        DECLARATION OF ANGELA C. C.
       ALEMAN,                                        VIRAMONTES; MEMORANDUM
17                                                    OF POINTS AND AUTHORITIES;
                    Defendant.                        [PROPOSED] ORDER
18
19
20           Defense counsel, Deputy Federal Public Defender Angela C. C. Viramontes,
21     hereby applies ex parte for an order to have the mental health division of the Los Angeles
22     Metropolitan Detention Center examine Mr. Antonio Edgar Gonzalez-Aleman pursuant
23     to 18 U.S.C. § 4241, and file a forensic mental health evaluation pursuant to 18 U.S.C. §
24     4247 regarding the mental competency of Mr. Antonio Edgar Gonzalez-Aleman to
25     understand the nature of the proceedings and assist his counsel.
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1            This application is based on the file of this case, the Declaration of Angela C. C.
2      Viramontes, and the Memorandum of Points and Authorities.
3
                                              Respectfully submitted,
4
                                              CUAUHTEMOC ORTEGA
5                                             Federal Public Defender
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7      DATED: September 14, 2022          By /s/ Angela C. C. Viramontes
8                                           ANGELA C. C. VIRAMONTES
                                            Deputy Federal Public Defender
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1                      DECLARATION OF ANGELA C. C. VIRAMONTES
2      I, Angela C. C. Viramontes, declare:
3            1.     I am a Deputy Federal Public Defender for the Central District of
4      California. In this capacity, I represent Mr. Gonzalez-Aleman.
5            2.     Mr. Gonzalez-Aleman is charged with violating 8 U.S.C. §§ 1326(a),
6      (b)(2), Illegal Alien Found in the United States Following Deportation.
7            3.     On July 11, 2022, Mr. Gonzalez-Aleman’s case was reassigned to me.
8      Based on my review of Mr. Gonzalez-Aleman’s medical records, I believe Mr.
9      Gonzalez-Aleman suffers from a mental disease or defect, and consequently, should be
10     evaluated for competency under 18 U.S.C. § 4241, and receive an examination by a Los
11     Angeles Metropolitan Detention Center psychiatrist under 18 U.S.C. § 4247. I believe
12     he is presently unable to understand the nature of the proceedings against him and assist
13     properly in his defense.
14           I declare under penalty of perjury under the laws of the United States of America
15     that the foregoing facts are true to the best of my knowledge. Executed this 14th day of
16     September, 2022, in Riverside, California.
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18                                             /s/ Angela C. C. Viramontes
19                                            ANGELA C. C. VIRAMONTES
                                              Deputy Federal Public Defender
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1                          MEMORANDUM OF POINTS AND AUTHORITIES
2            At any time after the commencement of a prosecution for an offense, and prior to
3      sentencing, a defendant, through the defendant’s counsel or the attorney for the
4      government, may file a motion for a hearing to determine the mental competency of the
5      defendant. The Court shall grant the motion if there is reasonable cause to believe that
6      the defendant may presently be suffering from a mental disease or defect rendering the
7      defendant mentally incompetent to the extent that the defendant is unable to understand
8      the nature and consequences of the proceedings against the defendant or to assist properly
9      in the defendant’s defense. 18 U.S.C. § 4241(a).
10           Pursuant to 18 U.S.C. § 4241(b), prior to the hearing on the issue of the defendant’s
11     mental competency, the Court may order that a psychiatric or psychological examination
12     of the defendant be conducted, and that a report be filed with the court, pursuant to 18
13     U.S.C. § 4247(b) and (c). Defense counsel requests that the Court order a psychiatric
14     examination.
15           Pursuant to 18 U.S.C. § 4247(b), the examination shall be conducted by a licensed
16     psychiatrist or psychologist, who shall be designated by the Court. Defense counsel
17     requests that a psychiatrist at the Los Angeles Metropolitan Detention Center conduct
18     the evaluation. The Court may commit the person to be examined for a reasonable period,
19     but not to exceed thirty days. 18 U.S.C. § 4247(b). The examination should be conducted
20     in a suitable facility closest to the Court. Id. A report shall be done and filed by the
21     examiner with the Court with copies provided to defense counsel and government
22     counsel. 18 U.S.C. § 4247(c).
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1            Defense counsel requests that the report be completed within 30 days, but notes
2      that under 18 U.S.C. § 4247(b), the director of the facility may apply for a reasonable
3      extension not to exceed fifteen days upon a showing of good cause that additional time
4      is necessary to observe and evaluate the defendant.
5                                            Respectfully submitted,
6                                            CUAUHTEMOC ORTEGA
                                             Federal Public Defender
7
8      DATED: September 14. 2022          By /s/ Angela C. C. Viramontes
9                                           ANGELA C. C. VIRAMONTES
                                            Deputy Federal Public Defender
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